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1
     WILMER CUTLER PICKERING HALE AND                    HUNTON ANDREWS KURTH LLP
     DORR LLP                                            Ann Marie Mortimer (State Bar No. 169077)
2    SONAL N. MEHTA (SBN 222086)                         amortimer@HuntonAK.com
     sonal.mehta@wilmerhale.com                          Jason J. Kim (State Bar No. 221476)
3    THOMAS G. SPRANKLING (SBN 294831)                   kimj@HuntonAK.com
     thomas.sprankling@wilmerhale.com                    Jeff R. R. Nelson (State Bar No. 301546)
4    JOSEPH M. LEVY (SBN 329318)                         jnelson@HuntonAK.com
     joseph.levy@wilmerhale.com                          550 South Hope Street, Suite 2000
5    2600 El Camino Real, Suite 400                      Los Angeles, California 90071-2627
     Palo Alto, CA 94306                                 Telephone: (213) 532-200
     Telephone: (650) 858-6000                           Facsimile: (213) 532-2020
6

7    ARI HOLTZBLATT (pro hac vice pending)
     Ari.Holtzblatt@wilmerhale.com
8    ALLISON SCHULTZ (pro hac vice pending)
     Allison.Schultz@wilmerhale.com
9    ROBIN C. BURRELL (pro hac vice pending)
     robin.burrell@wilmerhale.com
10   1875 Pennsylvania Ave, NW
     Washington, DC 20006
11   Telephone: (202) 663-6000
     Facsimile: (202) 663-6363
12

13   Attorneys for Plaintiff
     Facebook, Inc.
14
                                UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16

17                                  SAN FRANCISCO DIVISION

18   FACEBOOK, INC., a Delaware corporation,
                             Plaintiff,                 Case No. 3:20-CV-07182-JCS
19
           v.                                           PLAINTIFF FACEBOOK INC.’S
20
                                                        OPPOSITION TO DEFENDANTS’ EX
     BRANDTOTAL LTD., an Israeli corporation, and
21                                                      PARTE APPLICATION FOR
     UNIMANIA, INC., a Delaware corporation,
                                                        TEMPORARY RESTRAINING
                             Defendants.
22                                                      ORDER
23                                                      Hon. Joseph C. Spero
                                                        Courtroom F – 15th Floor
24
                                                        Date: October 26, 2020
25                                                      Time: 2:00 p.m.

26

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1           Defendants BrandTotal, Ltd. and Unimania, Inc. (“Defendants” or “BrandTotal”) built their

2    business by harvesting data from Facebook, in violation of Facebook’s Terms of Service. To facilitate

3    their data harvesting activities, Defendants developed and distributed internet browser extensions on

4    the Google Chrome Web Store, as well as a mobile application, all designed and programed to scrape 1

5    data from Facebook and other sites. To conceal their scraping from Facebook’s systems, Defendants

6    used the browser of any anyone who installed their extension as a proxy to access Facebook and
     engage in automated extraction of data to servers Defendants controlled. The data Defendants scraped
7
     included user profile information, advertisements and advertisement metrics, and user advertisement
8
     interest information. Not only was this data scraped from password-protected locations on Facebook,
9
     but some of the data was non-public. Defendants’ misconduct was a clear breach of Facebook’s Terms
10
     of Service, to which Defendants agreed, and violated federal and state law as alleged in the Complaint.
11
     Defendants’ conduct also put the security and integrity of Facebook and its users at risk. Now, after
12
     Facebook discovered that Defendants used several tools to scrape from Facebook, Defendants ask the
13
     Court to issue a mandatory injunction to regain access to Facebook password-protected computers
14
     and information they never should have had in the first place. This is not relief that should be granted
15
     at all, let alone on a request for temporary restraining order (“TRO”).
16
            At the outset, there is no dispute that Defendants are asking for an order compelling action by
17
     a party that cannot repair the alleged irreparable injury. While Facebook can reinstate Defendants’
18
     Facebook accounts, reinstating those accounts would not restore the functionality that Defendants
19
     claim they need. For that, Defendants need their browser extension reinstated on the Google Chrome
20
     Web Store. But Facebook does not control the Google Chrome Web Store. Thus, as Defendants
21
     acknowledge, even if this Court grants the emergency relief requested, “this only means the Court will
22
     be ordering Facebook to contact Google to withdraw its request to have UpVoice taken down.”
23
     Defendants’ Resp. to Plaintiff’s Admin. Mtn. to Set Briefing Schedule (Dkt. No. 29) at 3. “There is
24
     no telling how quickly Google will respond” and “if Google does not respond, BrandTotal may have
25
     to file an action to seek a TRO against Google.” Id. at 3. 2 In other words, Defendants admit that
26
     1
27         Data scraping is the automated extraction of user data. See Declaration of Mike Clark ISO
     Facebook Opp. To TRO (“Clark Decl.”) ¶ 3.
28   2
            Emphasis supplied and internal citations omitted, unless otherwise noted.
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1    Facebook is not itself able to cure the alleged injury. The TRO should be denied on that basis alone.

2           In any case, even if Facebook did have the ability to address the alleged injury here, Defendants

3    have not established that the extraordinary relief of a TRO is warranted. At its core, Defendants’

4    argument is that they have the absolute right to collect data from Facebook users. Defendants do not

5    identify any case in which a court has restored a data scraper’s access to a platform even after it

6    engaged in the unauthorized collection of user data and abuse of the platform’s products and systems.

7    The best Defendants can muster is the Ninth Circuit’s decision in hiQ v. LinkedIn, which Defendants

8    contend is “on all fours” with the instant case.

9           hiQ in no way supports Defendants’ extraordinary claim. To start, hiQ expressly encouraged

10   “victims of data scraping” to bring breach of contract actions to protect their rights—precisely as

11   Facebook has done here. hiQ v. LinkedIn, 938 F.3d 985, 1004 (9th Cir. 2019). And there are dispositive

12   differences between the data scraping addressed in hiQ and the scraping here. Most significant is that,

13   unlike the data scraped in hiQ, all of the information scraped by Defendants was obtained through

14   password-protected channels. This allowed Defendants to ride on the coattails of a user to enter a

15   password-protected location and collect data, all without permission from Facebook or any other user

16   whose information they might obtain. There is no reading of hiQ that would allow a company to exploit

17   login credentials of individual users to enter password-protected locations of the Facebook platform

18   to collect ads (and information and metrics about those ads) without the consent or knowledge of

19   Facebook or the advertisers who created and published them.

20          hiQ itself confirms that. In the context of the Computer Fraud and Abuse Act (“CFAA”), the

21   hiQ Court drew an express, and essential, distinction between the scraping of information from

22   publicly-accessible locations on a website and information from password-protected locations on the

23   website. Id. at 1002 (citing Facebook, Inc. v. Power Ventures, 844 F.3d 1058, 1067 n.2 (9th Cir.

24   2016)). As hiQ itself acknowledged, it is the Ninth Circuit’s earlier decision in Power Ventures that

25   “control[s] situations in which authorization generally is required and has either never been given or

26   has been revoked.” See hiQ, 938 F.3d at 1002. “While Power Ventures was gathering user data that

27   was protected by Facebook's username and password authentication system [as Defendants do here],

28   the data hiQ was scraping was available to anyone with a web browser [as Defendants do not even

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1    claim to be doing here].” Id. Although Defendants invoke hiQ no fewer than a dozen times, they fail

2    to even cite—let alone confront—Power Ventures.

3           Nor do they reckon with—or even recognize—Chief Judge Hamilton’s ruling last year in the

4    Stackla v. Facebook TRO proceedings. Stackla, Inc. v. Facebook, 2019 WL 4738288 (N.D. Cal. Sept.

5    27, 2019). As here, the movant in Stackla asked the court to grant a TRO that would sanction their

6    automated collection of user data in violation of Facebook’s terms, which they claimed was necessary

7    for them to continue to offer advertising and marketing services to their customers. And as here, the

8    implications of such a ruling would have been significant. As the Stackla Court recognized, “the public

9    has a strong interest in the integrity of Facebook’s platforms, Facebook’s policing of those platforms

10   for abuses, and Facebook’s protection of its users’ privacy.” 2019 WL 4738288, at *6. Companies

11   who violate Facebook’s policies cannot just show up at the courthouse steps and demand that their

12   access be reinstated. “Although the public certainly has some interest in avoiding the dissolution of

13   companies and the accompanying loss of employment, Facebook’s ability to decisively police the

14   integrity of its platforms is without question a pressing public interest.” Id.

15          That the balance of hardships strongly disfavors a temporary restraining order is confirmed by

16   Defendants’ anemic showing on the irreparable injury prong. Defendants claim that their business will

17   be destroyed without a TRO, but Defendants offer no evidence of any imminent injury beyond

18   generalized averments from the company’s CEO that the company “cannot long survive.” This is

19   simply not enough to warrant emergency relief. As the Stackla Court explained, “the extraordinary

20   relief of a pre-adjudicatory injunction demands more precision with respect to when irreparable harm

21   will occur than ‘soon.’” 2019 WL 4738288, at *5. And while Defendants suggest that customers and

22   investors are considering the lawsuit and speculate that they will ultimately lose business as a result,

23   the Stackla Court rejected this precise argument on the grounds that mere customer “concerns … does

24   not demonstrate a likelihood that they will cease paying” the Defendants—“much less that they will

25   do so imminently.” Id. at *4. Ultimately, Defendants never explain how a company boasting millions

26   in funding (including $12 million in funding just last month) and A-list customers can claim to be on

27   the verge of imminent bankruptcy.

28          If the Court were to reach the question of likelihood of success on the merits (it need not), that

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1    factor would only confirm that emergency relief should be rejected. Defendants fail to plead—let alone

2    persuasively establish—facts supporting their own counterclaims. As one example, Defendants argue

3    they will likely win on intentional interference with prospective economic advantage but fail to

4    adequately plead the basic elements of that claim, including that Facebook “knew about” and

5    “intentionally disrupted” specific deals with Defendants’ customers. Buxton v. Eagle Test Sys. Inc.,

6    2010 WL 1240749, at *2 (N.D. Cal. Mar. 26, 2010). A pleading that fails to allege even basic

7    requirements of the claims is not one on which a party can credibly ask for emergency relief.

8    Defendants’ showing of a likelihood of success in defending against Facebook’s affirmative claims

9    fares no better. For example, Defendants’ only response to Facebook’s allegations that Defendant have

10   violated the CFAA and California Penal Code § 502 (“Section 502”) is that the information they scrape

11   is “public.” But Facebook has alleged, and establishes through sworn declarations submitted herewith,

12   that Defendants are scraping information without authorization through password-protected channels,

13   not public channels. In other words, Defendants will not prevail on Facebook’s claims or their own.

14   The motion for temporary restraining order should be denied.

15   I.     FACTUAL BACKGROUND

16          Browser extensions are small computer programs that add functionality to users’ web

17   browsers. Sometimes browser extensions can add features to a user’s web browser experience such as

18   blocking pop-up ads. See Declaration of Sanchit Karve ISO Facebook Opp. To TRO (“Karve Decl.”)

19   ¶ 9. Other times, browser extensions can be used for malicious purposes, such as spying or data theft.

20   Id. ¶ 10. Google allows developers to create extensions for the Google Chrome web browser and to

21   distribute those extensions though the Google Chrome Web Store, and Google has its own terms of

22   service that govern those transactions. See Declaration of Sonal Mehta ISO Facebook Opp. To TRO

23   (“Mehta Decl.”), Ex. 1 (https://developer.chrome.com/webstore/terms) at Section 4 (“4.4.1 You agree

24   that you will not engage in any activity with the Web Store, including the development or publication

25   of Products or other materials, that violates the Google Chrome Web Store Program Policies, or that:

26   1. knowingly violates a third party’s terms of service; 2. violates any applicable laws or regulations, .

27   . .”), Section 7 (“Product Takedowns, Review, and Updates”).

28          Defendants have developed, distributed, and obtained data through at least six browser

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1    extensions and an app designed to automatically collect data from Twitter, YouTube, LinkedIn,

2    Amazon, Facebook, and Instagram. Declaration of Alon Leibovich (“Leibovich Decl.”) (Dkt. 26-08)

3    ¶ 6. The extensions were available for download through the Google Chrome Web Store. Karve Decl.

4    ¶ 7. As of this filing, the Anonymous Story Viewer for Instagram app is still available for download

5    on Google Play, Google’s platform for distributing mobile and desktop apps. Id. Although each of

6    Defendants’ extensions and their app improperly rely on a user’s login credentials to gain entry into

7    password protected locations on Facebook’s (or Instagram’s) platform and thus conceal their scraping,

8    the UpVoice extension (described below) is the only extension at issue in the TRO.

9           A.      Defendants Contracted To Abide By Facebook’s Terms

10          Data scraping is a serious concern for social-media platforms like Facebook. Clark Decl. ¶ 5.

11   It circumvents measures employed by platforms to prevent unauthorized automated requests and thus

12   makes sites less secure and more vulnerable to harmful acts; it can interfere with the operations and

13   integrity of the platform’s networks and security; it can degrade public trust and confidence in the

14   platform; and more. Id. In July 2019, Facebook reached a settlement with the FTC including a consent

15   decree ordering it to implement certain privacy protections to, among other things, report certain

16   incidents of unauthorized collection or access to user data, Id. ¶ 12.

17          When creating an account, every Facebook and Instagram user must agree to the terms of

18   service that govern each platform, including the Facebook Terms of Service and Facebook

19   Commercial Terms (collectively, “Facebook Terms”), and the Instagram Terms of Use, Community

20   Guidelines, and Platform Policy (collectively, “Instagram Terms and Policies”). See Declaration of

21   Michael Duffey ISO Facebook Opp. To TRO (“Duffey Decl.”) ¶¶ 3, 4. As relevant here, both the

22   Facebook and Instagram terms prohibit “accessing or collecting information in an automated way.”

23   See Clark Decl. ¶ 7; Duffey Decl. Exs. 1-3. 3 Defendants agreed to abide by these terms, including the

24

25   3
             The Instagram Terms also prohibit users from “violat[ing] someone else’s rights, including
26   intellectual property rights.” Duffey Decl. Ex. 3. In addition, the Instagram Terms and Section 3.2.1
     of the Facebook Terms prohibit users from “do[ing] … anything unlawful, misleading, [ ] or
27   fraudulent” or facilitating or supporting others in doing so.” Duffey Decl. Exs. 1 & 3. And both the
     Instagram Terms and Section 3.2.2 of the Facebook Terms prohibits users from doing anything to
28   impair the proper operation of the platforms. Duffey Decl. Exs. 1 & 3.
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1    anti-scraping policies, by creating and maintaining their own Facebook and Instagram accounts

2    between 2016 and October 2020. Karve Decl. ¶¶ 27-34; Duffey Decl. ¶¶ 3, 4.

3           B.      Defendants Violated Facebook’s Terms By Automatically Collecting Data

4           For years, Defendants exploited Facebook’s users’ access to Facebook and Instagram to scrape

5    information from password-protected locations. So far, Facebook has identified at least six browser

6    extensions and an app created by Defendants to scrape the platforms. Karve Decl. ¶¶ 5-6. For example,

7    Defendants’ Ads Feed extension collected demographic and advertising data without paying users.

8    Compl. Ex. 9. The Anonymous Story Viewer for Instagram app, still available for download on Google

9    Play as of this filing, scrapes an Instagram user’s ID, name, phone number, email address, gender

10   profile picture, Instagram accounts followed by the user and the name of the Instagram accounts

11   following the user, the user’s posts, and the comments and captions for posts, the URL for the posts,

12   and the geotag of the Instagram post, which is information embedded in the metadata of the photo that

13   shows where the photo in the post was taken. Karve Decl. ¶ 22. None of the information was

14   anonymized. Id. The app was also coded to scrape the user’s session token and the user’s session ID.

15   Id. ¶ 23. This information was exfiltrated to a third-party server as well. Anyone with the session token

16   and session ID can use them to make requests to Facebook computers for Instagram content for that

17   user without the user accessing Instagram. Id.

18          The UpVoice extension, which is the only extension Defendants address in their TRO, pays

19   users for browsing the web while secretly collecting data. Karve Decl. ¶¶ 14-17 & Ex. 3. Once

20   Defendants’ UpVoice extension had been installed, the extension automatically collected data,

21   including non-public data, from password-protected locations when the user visited Facebook. Id. ¶¶

22   13-17. This creates a risk that whenever anyone using that browser—including family members or

23   roommates using a shared computer—accesses Facebook (or another website Defendants targeted for

24   scraping) they would unwittingly have their data scraped as well. Clark Decl. ¶ 5(c). Defendants’ own

25   public statements about the extension contradict their denial that it is automated. For example, in

26   promoting UpVoice, Defendants emphasized that the extension requires nothing more of users than

27   “browsing” what they misleadingly refer to as “participating sites” just “as [users] normally do.” Karve

28   Decl. Ex. 3. All users have to do is “regularly visit Facebook,” and UpVoice works behind the scenes

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1    to “collect the ads that you see and anonymous demographic profile data.” Id. It accomplishes this by

2    masquerading as an authenticated Facebook user with legitimate login credentials. Karve Decl. ¶ 15.

3            The UpVoice extension enabled Defendants to access password-protected locations and

4    automatically collected ad and non-public user information in violation of Facebook’s terms. It was

5    coded to scrape information from the password-protected Facebook account of the Facebook user—

6    including their Facebook user ID, gender, date of birth, relationship status, and location—as well as

7    data about advertisements the user sees while browsing Facebook. Id. ¶ 15, 17(a)-(b). Facebook’s

8    privacy settings allow users to control how much profile information is viewable publicly, and a user’s

9    date of birth, relationship status, and location can be set to private or public. Id. ¶ 17(a). The extension

10   scraped user profile information regardless of the privacy setting. Id. It was also coded to scrape data

11   about the ads themselves, including the text of the ad, any images or videos used, and information

12   about who sponsored the ad. Id. ¶ 17(c). It also scraped URLs associated with the ads, enabling them

13   to compile a database of web addresses to permanent webpages that contain images of the ads. Id.

14          UpVoice also collected data on advertising metrics. Id. ¶ 17(d). Facebook users can engage

15   with ads in various ways; beyond simply viewing ads, users can comment on them, react to them using

16   various icons—including a thumbs-up, heart, or sad face—and share them with other Facebook users.

17   Id. UpVoice scraped that data from a password-protected location, collecting information on how

18   many comments, reactions, and shares an ad has. 4 Id. ¶¶ 15, 17(d).

19           In addition to advertising data, UpVoice also scraped users’ advertising interests. Karve Decl.
20   ¶ 17(b). Advertising interests are part of a users’ Ad Preference information and they are not publicly

21   viewable. Id. Ad interests are accessible to an authenticated Facebook user through their profile

22   settings. Id. The UpVoice extension scraped users’ advertising-interest categories from its password-

23

24   4
             Only registered Facebook users can create and place ads on the platform. Leathern Decl. ¶ 4.
25   Ads belong to the users who created them, and often contain licensed copyrighted works. Clark Decl.
     ¶¶ 5(c), (e). When an ad’s images and text and the URLs for those are scraped, as here, the ad’s
26   contents can also be disaggregated from its creator and used without payment or credit. Id. ¶ 5(e).
     Advertisers have no way of consenting to or preventing the scraping of their data by other users who
27   have installed the UpVoice extension. Id. ¶ 5(c), (e). Put differently, although users can view and share
     ads, they cannot consent to others scraping the ad and adverting metrics in violation of Facebook’s
28   Terms of Service. Leathern Decl. ¶ 9.
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1    protected location. Id. Facebook automatically generates categories of advertising interests for users

2    based on the user’s activities on Facebook, including past engagement with advertising. Id.; Leathern

3    Decl. ¶ 6. This information is accessible to users only while securely logged in to their accounts.

4    Leathern Decl. ¶ 6.

5           C.      Defendants Attempted To Evade Facebook's Enforcement Efforts

6           Facebook has, and continues to, invest substantial resources to detect and stop scraping through

7    technological means, as well as legal means. Clark Decl. ¶¶ 6-7; see also Stackla, Inc. v. Facebook

8    Inc., Case No. 19-cv-05849 (N.D. Cal. 2019); Facebook, Inc. v. Sluchevsky, Case No. 19-cv-01277

9    (N.D. Cal. 2019); Facebook, Inc. v. Zaghar, 3:20-CV-04054 (N.D. Cal. 2020).

10          Here, after an investigation to verify and understand the scope and extent of Defendants’

11   unauthorized scraping, Facebook disabled Defendants’ accounts and pages on September 30, 2020.

12   Karve Decl. ¶¶ 5, 28-34. The next day, on October 1, Facebook filed a civil action in state court

13   alleging violations of Facebook’s Terms of Service and Instagram’s Terms of Use. See Mehta Decl.

14   Ex. 2 (Complaint, Facebook, Inc. v. BrandTotal LTD, No. 20-CIV-04256 (Cal. Super. Ct.)). Google

15   removed Defendants’ extensions from its Chrome Web Store that same day. Karve Decl. ¶¶ 14, 18.

16   On October 3, three days after Facebook disabled defendants’ accounts, BrandTotal’s Chief Product

17   Officer Oren Dor created an Instagram account in the name of “Jack_Back” and a new Facebook

18   account using the fake name “Jack Busch.” Id. ¶ 34. 5 Then on October 12, Defendants re-published

19   their UpVoice extension on the Chrome Web Store. Id. ¶ 14. It was removed on or about October 14,
20   and then published again that same day. Id. Although it now appears to be down (again), the re-

21   published UpVoice extension had been installed at least 150 times after October 14. Id.

22          After learning that Defendants had created Facebook and Instagram accounts using fake names

23   and re-published their extension on the Chrome Web Store, thus evading Facebook’s enforcement

24   efforts and accessing Facebook’s platform without authorization (again), Facebook voluntarily

25   dismissed its state-court action on October 14, 2020, re-filing this action in federal court to add claims

26   under the CFAA, among others. Declaration of Jason J. Kim ISO Facebook Opp. To TRO (“Kim

27
     5
             Creating a Facebook account using a fake name violates the Facebook Terms. Duffey Decl.
28   Exs. 1, 2 (“[Y]ou must … [u]se the same name that you use in everyday life.”).
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1    Decl.”) ¶ 8.

2    II.     DEFENDANTS HAVE NOT ESTABLISHED IRREPARABLE INJURY

3            Defendants seek “an extraordinary and drastic remedy.” Munaf v. Geren, 553 U.S. 674, 689

4    (2008). The bar for such relief is high, and Defendants fall far short. To obtain a temporary restraining

5    order, defendants must establish that: (1) they are “likely to succeed on the merits,” (2) they are “likely

6    to suffer irreparable harm in the absence of preliminary relief,” (3) “the balance of equities tips in

7    [their] favor,” and (4) a temporary restraining order “is in the public interest.” Koller v. Brown, 224 F.

8    Supp. 3d 871, 875 (N.D. Cal. 2016). Moreover, because Defendants seek a mandatory injunction

9    ordering Facebook to take certain actions, the burden is “doubly demanding.” Garcia v. Google, Inc.,

10   786 F.3d 733, 740 (9th Cir. 2015). Such relief “is particularly disfavored,” and to be entitled to it,

11   Defendants “must establish that the law and facts clearly favor [their] position, not simply that [they]

12   are likely to succeed.” Id.

13           A.       The Requested Relief Would Not Cure The Alleged Irreparable Injury

14           Defendants seek a TRO compelling Facebook to: (1) “rescind” its “takedown request” to

15   Google and “take other reasonable actions in communication with Google to make the recession [sic]

16   effective so that that UpVoice is again available on the Google Chrome Web Store,” (2) “reverse its

17   ‘technical enforcement measures’ blocking UpVoice from Facebook’s platform,” and (3) “restore the

18   BrandTotal and other BrandTotal principals Facebook pages.” Mem. 25. The requested relief is

19   improper for at least two reasons.

20           First, Defendants have not satisfied their burden to establish that “the relief sought will actually

21   prevent [the] irreparable harm” alleged. Sierra Club v. U.S. Dep’t of Energy, 825 F. Supp. 2d 142, 153

22   (D.D.C. 2011). While Defendants ask Facebook to unblock their Facebook pages and reverse

23   “technical enforcement measures,” Defendants have not shown that either would actually solve their

24   supposed problem here. In fact, Facebook’s unblocking of their Facebook pages would only allow

25   Defendants to post on Facebook (which they were using to solicit users), not fix the extension;

26   likewise, Facebook is not taking any technical measures that if lifted would allow the extension to

27   work. What Defendants seek—and what they need to repair the purported injury here—is for Google

28   to reinstate the UpVoice extension. But Google is not a party, and Facebook does not control Google.

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1    Indeed, Defendants can only speculate about whether the injunction they seek would accomplish

2    anything. They concede that to obtain the relief sought they “may have to file an action to seek a TRO

3    against Google.” Defendants’ Response to Plaintiff’s Admin. Mtn. to Set Briefing Schedule (Dkt. No.

4    29) at 3. And they acknowledge that there is no telling how quickly or even whether Google will

5    respond to any request by Facebook. Id. This Court should not enter a mandatory, emergency

6    injunction when the remedy that Defendants need can be provided only by an independent non-party.

7    See Sierra Club v. U.S. Dep’t of Energy, 825 F. Supp. 2d 142, 153 (D.D.C. 2011) (“It would make

8    little sense for a court to conclude that a plaintiff has shown irreparable harm when the relief sought

9    would not actually remedy that harm …. The inquiry must be whether the plaintiff has shown that the

10   relief sought will actually prevent irreparable harm.”).

11          Second, injunctive relief must be “specific[]” and “precise[].” The relief sought would not be.

12   Defendants request an injunction compelling Facebook, by threat of contempt, to “take other

13   reasonable actions in communication with Google to make the recession effective so that UpVoice is

14   again available on the Google Chrome Web Store.” Mem. 25. The requested relief does not “state its

15   terms specifically” nor “describe in reasonable detail … the act or acts restrained or required,” as is

16   required of any injunction issued by this Court. Fed. R. Civ. P 65(d). Nor does it provide Facebook

17   with “fair and precisely drawn notice of what the injunction actually [requires].” Fortyune v. American

18   Multi-Cinema, Inc., 364 F.3d 1075, 1086-87 (9th Cir. 2004). It does not, for example, define what

19   would be reasonable, what precisely would be required to make the rescission effective, or what would

20   happen if, despite Facebook’s best efforts, Google simply refused to make the UpVoice extension

21   available again. Such a vague and open-ended injunction is impermissible under Rule 65.

22          B.      Even If The TRO Were Not Futile, Defendants Have Not Established That They

23                  Are Entitled To Extraordinary Relief

24                  1.      Defendants Have Not Shown That They Face An Imminent Risk Of

25                          Harm

26          As Defendants acknowledge, “[a]n adequate showing of irreparable harm is the ‘single most

27   important prerequisite for the issuance of a [TRO].’” Koller, 224 F. Supp. 3d at 879 (alteration in

28   original) (quoting Freedom Holdings, Inc. v. Spitzer, 408 F.3d 112, 114 (2d Cir. 2005)); see also Doc.

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1    26-3 at 23. Yet they fall far short of the necessary showing. Mere allegations and speculation are

2    insufficient. See Stackla, Inc. v. Facebook, 2019 WL 4738288, at *3 (N.D. Cal. Sept. 27, 2019).

3    Rather, Defendants must “demonstrate immediate threatened injury.” Caribbean Marine Servs. Co.

4    v. Baldridge, 844 F.2d 668, 674 (9th Cir. 1988). Defendants claim they face the threat of being driven

5    out of business and of losing customers, Mem. 23, but do not sufficiently demonstrate any immediate

6    threat of irreparable harm.

7           Defendants’ CEO avers that,

8              Leibovich Decl. ¶ 62. But absent any supporting financial information or any evidence of

9    when it will be forced to cease operations, such vague and conclusory assertions are insufficient. See

10   Stackla, 2019 WL 4738288, at *5 (collecting cases). In Stackla, much as here, a content-scraping

11   software company claimed it would go out of business without access to Facebook’s platform, relying

12   on the statements of its CEO that the company would “be deprived of its revenue” and “soon reach a

13   tipping point where [it] c[ould] no longer operate.” Id. at *1, 5. But, without actual evidence of its

14   “financial strength or the likelihood that [it] w[ould] dissolve … at any particular point in time,” Chief

15   Judge Hamilton rejected the claim as “inherently speculative.” Id. at 5; see also Int’l Medcom, Inc. v.

16   S.E. Int’l, Inc., 2015 WL 7753267, at *3, 5 (N.D. Cal. Dec. 2, 2015) (similar). Here, Defendants failure

17   to provide any financial information showing imminent injury is unsurprising. Just last month,

18   BrandTotal procured $12 million in Series B venture capital funding. BrandTotal Raises $12 Million

19   In Series B Round To Expand Brand Marketing Analytics Technology, PRNEWSWIRE (Sept. 14, 2020),

20   https://www.prnewswire.com/news-releases/brandtotal-raises-12-million-in-series-b-round-to-

21   expand-brand-marketing-analytics-technology-301130281.html. And in any event, Defendants also

22   scrape data from social-media sites other than Facebook, including YouTube, Twitter, and Amazon,

23   Leibovich Decl. ¶ 6, but they fail to show why those other data sources would not allow them to

24   provide services to their customers. See Stackla, Inc., 2019 WL 4738288, at *TK (finding Stackla has

25   established that “much … of the work [Stackla] conducted for clients … involved accessing

26   Facebook’s platforms,” but still finding no irreparable injury).

27          Nor have Defendants demonstrated that they face irreparable harm from losing customers.

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2                                                Defendants have not identified any current or prospective

3    customers who have canceled existing contracts or stated that they will not do business with

4    Defendants. Whether these concerns and internal discussions will actually result in lost business is

5    purely speculative, and therefore insufficient to establish irreparable harm. See Stackla, Inc., 2019 WL

6    4738288, at *4 (“the fact that customers have ‘raised … concerns’ … does not demonstrate a

7    likelihood that they will cease paying Stackla under the terms of their contracts—much less that they

8    will do so imminently”); id. at *4 (rejecting potential loss of prospective customers in part because

9    “Stackla merely alleges but does not demonstrate that Facebook’s ban caused this alleged harm (rather

10   than, for example, prior negative media attention), or that the injunctive relief it seeks would be

11   effective in curing it.”)). Moreover, any resulting harms from lost customers “are measurable and are

12   best characterized as economic harms” that can be remedied through damages. Ebates Performance

13   Mktg., Inc. v. Integral Techs., Inc., 2013 WL 75929, at *2 (N.D. Cal. 2013). Indeed, Defendants have

14   quantified the harm, claiming that they have lost

15

16          And in any event, “self-inflicted wounds” and “harm that results from the express terms of [a]

17   contract” are not generally considered irreparable. Epic Games, Inc. v. Apple Inc., 2020 WL 5073937,

18   at *3 (N.D. Cal. Aug. 24, 2020). Facebook’s terms expressly prohibit the use of automated means to

19   collect data. Duffey Decl. Exs. 1, 2. Defendants built a business around violating those terms. They

20   should not now be granted extraordinary relief from their very ordinary enforcement.

21                  2.      The Timing Of The TRO Request Confirms There Is No Emergency Here

22          Facebook disabled Defendants’ Facebook and Instagram accounts and pages over two weeks

23   ago, around September 30, 2020. Compl. ¶ 58; see also Mem. 1 (Facebook disabled Defendants’

24   accounts “[a]pproximately two weeks ago”). Google removed the UpVoice extension from the Google

25   Chrome Web Store on October 1, 2020. Kim Decl. ¶ 2. Yet it was not until October 8, 2020 that

26   Defendants first mentioned that they might seek injunctive relief, and even then, Defendants stated

27   they were planning to wait until the following week to file their request, ultimately filing on October

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1    16, 2020. Kim Decl. ¶¶ 3, 4. 6 Defendants claims that they are at risk of “immense” harm and stand

2    “on the brink of collapse,” Mem. 23, cannot be squared with their delay in seeking relief. Royalty

3    Ambulance Servs. v. HHS, 2014 U.S. Dist. LEXIS 64000, at *8-9 (C.D. Cal. May 8, 2014) (ten day

4    delay “negates” assertion of irreparable harm). Combined with the other defects set forth above,

5    Defendants’ delay confirms that emergency relief is not needed or appropriate.

6    III.     DEFENDANTS ARE NOT LIKELY TO SUCCEED ON THE MERITS

7             A.     Defendants Have Not Shown A Likelihood Of Success On The Merits Of Even

8                    Their Own Counterclaims

9                    1.     Defendants’ Intentional Interference Claims Fail

10            Defendants have not even adequately pled, let alone shown a likelihood of success on the

11   merits, of their claims for intentional interference with contract and prospective economic advantage.

12            First, Defendants have not shown that Facebook had “knowledge of [Defendants’] contracts,”

13   Quelimane Co. v. Stewart Title Guar. Co., 19 Cal. 4th 26, 55 (1998), or knew about “specific economic

14   relationships with identifiable third parties,” Buxton v. Eagle Test Sys. Inc., 2010 WL 1240749, at *2

15   (N.D. Cal. Mar. 26, 2010). Although a declarant

16

17   Leibovich Decl. ¶¶ 39-42, Defendants never identify any specific contract or potential relationship

18   with which Facebook knowingly interfered. This omission is fatal. Davis v. Nadrich, 174 Cal. App.

19   4th 1, 11 (2009) (interference with contract); see also Korea Supply Co. v. Lockheed Martin Corp., 29

20   Cal. 4th 1134, 1164-1165 (2003) (prospective economic advantage). Moreover, having failed to

21   establish Facebook’s knowledge of any specific contracts or prospective business deals, Defendants

22   have also necessarily failed to establish the separate requirement that Facebook have known that

23   interference with those unknown contracts or prospective deals was “certain or substantially certain to

24   occur as a result” of Facebook’s actions. Korea Supply, 29 Cal. 4th at 1165 (interference with

25   prospective economic advantage); Quelimane, 19 Cal. 4th at 56 (interference with contract).

26

27   6
             Facebook did not delay the filing of Defendants’ motion. See Kim Decl. ¶¶ 3-7. But even if
     Facebook caused the two-day delay that Defendants complain about, Defendants had already planned
28   to wait roughly two weeks to file this motion. Id. ¶¶ 2, 3.
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1            Second, Defendants have not “demonstrated actual breach or disruption of the contractual

2    relationship.” Quelimane, 19 Cal. 4th at 55. Defendants have not demonstrated that any of their

3    existing contracts have been cancelled or even that they were contractually obligated to provide data

4    scraped from Facebook in particular, as opposed to any other website. Rather, they have merely stated

5

6

7                       Leibovich Decl. ¶¶ 34-35.

8            Third, Facebook acted with a “legitimate business purpose which justified its actions.”

9    Quelimane Co. v. Stewart Title Guar. Co., 19 Cal. 4th 26, 57 (1998); see also A. F. Arnold & Co. v.

10   Pacific Professional Ins., Inc., 27 Cal. App. 3d 710, 714 (1972). Facebook sought to enforce its terms

11   of service, to which Defendants (and every user whose data they scraped) had agreed. Clark Decl. ¶

12   7; Duffey Decl. ¶¶ 3, 4; Karve Decl. ¶¶ 27-34. Even if Defendants were somehow correct that

13   Facebook interfered with their contracts or prospective relationships (they are not), Facebook was

14   entirely justified in incidentally interfering with a contract that threatened “a prior contract of [its]

15   own.” Richardson v. La Rancherita, 98 Cal. App. 3d 73, 81 (1979) (quoting Prosser on Torts 944-945

16   (4th ed. 1971)).

17           Indeed, every action Facebook took was meant to enforce its own contractual agreements and

18   protect its users. Facebook, and the public writ large, have a “strong interest in the integrity of

19   Facebook’s platforms” and in safeguarding users’ privacy against this scraping. See Stackla, 2019 WL

20   4738288 at *6. And the consistent enforcement of Facebook’s anti-scraping policy is essential to

21   maintaining the security and operation of Facebook’s network and, by extension, protecting its users.

22   Clark Decl. ¶¶ 5(a), (f). Facebook’s efforts to protect user privacy are not the type of “wrongful and

23   malicious” intention that courts require for intentional interference claims. A. F. Arnold & Co. v.

24   Pacific Professional Ins., Inc., 27 Cal. App. 3d 710, 716 (1972) (quoting Prosser on Torts 952-953

25   (4th ed. 1971)). 7

26

27   7
            Defendants also cannot show that Facebook “engaged in an independently wrongful act,”
28   which is required to make out a claim for intentional interference with economic advantage. Ixchel
     Pharma, LLC v. Biogen, Inc., 9 Cal. 5th 1130, 1142 (2020). An independently wrongful act is one that
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1             Fourth, in all events, Defendants have not demonstrated “that the economic harm it suffered

2    was proximately caused by” Facebook’s allegedly wrongful acts. Korea Supply, 29 Cal. 4th 1134 at

3    1165-1166 (prospective economic advantage); Dryden v. Tri-Valley Growers, 65 Cal. App. 3d 990,

4    995-996 (1977) (party must have “caused the breach of contract”). Facebook removed Defendants’

5    accounts and Pages from its platform and sent takedown notices to Google. Leibovich Decl. ¶¶ 19, 22.

6    Defendants have not introduced any evidence that any alleged economic harm was proximately caused

7    by Facebook’s actions, as opposed to the removal of the extension from the Google Chrome Web

8    Store.

9                    2.     Defendants’ Unfair Competition Claims Are Meritless

10            Defendants allege that Facebook engaged in the three types of wrongful conduct prohibited by

11   the California Business and Professions Code § 17200, et seq. (“UCL”): “unlawful” business acts or

12   practice, “unfair” business acts or practice, and “fraudulent” business acts or practice. Cel-Tech

13   Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). Defendants have not adequately

14   pled these claims, let alone established they will likely prove them, which is their burden.

15            Unlawful Prong. Defendants allege that Facebook’s “disruption of [Defendants’] contractual

16   and prospective business relationships is unlawful and thus a violation of the UCL.” Mem. 20. But

17   Defendants have not established that Facebook’s enforcement of its anti-scraping policies—itself a

18   legitimate business practice—constitutes a violation of any predicate for a UCL claim. See, e.g.,

19   Milman v. FCA U.S., LLC, 2019 WL 3334612, at *8 (C.D. Cal. Apr. 15, 2019) (UCL’s unlawful prong

20   failed where all pled underlying crimes and torts failed). Because Defendants cannot establish a

21   likelihood of prevailing on any of its business tort claims, this derivative claim must also fail. See Nat’l

22   Rural Telecommunications Co-op. v. DIRECTV, Inc., 319 F. Supp. 2d 1059, 1074 (C.D. Cal. 2003)

23   (UCL claim premised on “unlawful” action cannot stand “independent of any law”). Indeed, contrary

24   to being unlawful, the FTC consent decree that Defendants cite obligates Facebook to report scraping

25   incidents.

26            Unfair Prong. Defendants also assert that Facebook’s actions are unfair business practices

27
     is “unlawful,” meaning “proscribed by some constitutional, statutory, regulatory, common law, or
28   other determinable legal standard.” Korea Supply, 29 Cal. 4th at 1159.
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1    because they were denied access to Facebook’s platforms. Mem. 21. Because Defendants claim injury

2    as direct competitors of Facebook, Mem. 21, the “unfair” prong requires them to establish that

3    Facebook’s conduct “threatens an incipient violation of an antitrust law, or violates the policy or spirit

4    of one of those laws because its effects are comparable to or the same as a violation of the law, or

5    otherwise significantly threatens or harms competition.” Cel-Tech, 20 Cal. 4th at 187.

6            Defendants do not come close to satisfying this standard. Defendants appear to advance two

7    theories: (1) “Facebook is unlawfully unfairly leveraging its power in the social networking market to

8    secure an anticompetitive advantage in the data analytics market” and (2) Facebook is denying

9    Defendants access to “a facility it controls that is essential to its competitors.” Mem. 21-22. The first

10   theory is not cognizable because the Ninth Circuit has expressly rejected “a monopoly leveraging

11   doctrine as an independent theory of liability.” Alaska Airlines, Inc. v. United Airlines, Inc., 948 F.2d

12   536, 541 (9th Cir. 1991); see also hiQ Labs, Inc. v. LinkedIn Corp., 2020 WL 5408210, at *12 (N.D.

13   Cal. Sept. 9, 2020) (“[A]n antitrust violation requires that there be anticompetitive conduct and

14   leveraging by itself is not inherently anticompetitive in nature.”).

15           Defendants’ second theory, that Facebook is denying access to an “essential facility” fails for

16   multiple reasons including the threshold problem that Defendants acknowledge that Facebook does

17   not control whether a browser extension is permitted or removed from the Google Chrome Web Store.

18   See MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124 (9th Cir. 2004) (stating that essential

19   facilities claim requires plaintiff to show “defendant has refused to provide plaintiff access to the

20   facility”).

21           The Ninth Circuit has rejected UCL claims where a violation of the “spirit” of antitrust laws is

22   alleged, Mem. 21, without a cognizable antitrust violation. Levitt v. Yelp! Inc., 765 F.3d 1123, 1136-

23   37 (9th Cir. 2014) (plaintiff’s general UCL allegations did not suffice to allege what “amounts to a

24   violation of antitrust laws.”). But even looking just at the “spirit” of Defendants’ claims, they still fall

25   well short. Defendants’ theories boil down to a claim of “forced sharing,” but the Supreme Court has

26   cautioned against forcing such arrangements “because of the uncertain virtue of forced sharing and

27   the difficulty of identifying and remedying anticompetitive conduct by a single firm.” Verizon

28   Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004).

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1           Fraudulent Prong. Defendants next allege that Facebook’s terms were “fraudulent” because

2    they “promise … users that only the users own their content.” Mem. 22-23. “But a business practice

3    is fraudulent only if ‘members of the public are likely deceived.’” Nat’l Rural Telecommunications

4    Co-op., 319 F. Supp. 2d at 1077. And those same terms expressly state that users shall “[n]ot share

5    your password, give access to your Facebook account to others, or transfer your account to anyone

6    else (without our permission).” Duffey Decl. Ex. 1. They also state that users “may not access or

7    collect data from [Facebook’s] Products using automated means (without [Facebook’s] prior

8    permission) or attempt to access data [users] do not have permission to access.” Duffey Decl. Ex. 1.

9    In light of those express provisions, there was no deception to dispel because no reasonable user would

10   understand the Facebook terms to mean that a user has the power to grant a third-party access to

11   Facebook’s computer network. Facebook’s terms expressly prohibit users from engaging in precisely

12   the conduct Defendants admit. See, e.g., Ebner v. Fresh, Inc., 838 F.3d 958, 966 (9th Cir. 2016)

13   (concluding that disclosure defeated a claim under UCL’s fraud prong). Defendants’ UCL claim is

14   unlikely to succeed on the merits. 8

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20           Even if Defendants were somehow to make out a claim for intentional interference or under
     the UCL for removing Defendants’ Facebook accounts and Pages, their claims would be barred under
21   47 U.S.C. § 230(c)(1) because they seek to impose liability on Facebook for declining to publish
     Defendants’ content. See, e.g., Barnes v. Yahoo!, Inc., 570 F.3d 1096, 110 (9th Cir. 2009) (laying out
22   test). First, Facebook is an “interactive computer service,” in that it “provides or enables computer
     access by multiple users to a computer serv[er].” See Sikhs for Justice, v. Facebook, Inc., 144 F. Supp.
23
     3d 1088, 1093 (N.D. Cal. 2015), aff’d 697 F. App’x 526 (9th Cir. 2017). Second, Defendants’ browser
24   extension and accounts and pages constitutes “information created by another information content
     provider” because Facebook had no hand in their creation and a computer program like a browser
25   extension or a Facebook page are forms of information. See Sikhs for Justice, 144 F. Supp. 3d at 1093
     (Facebook page); Intango, Ltd. v. Mozilla Corp., No. 20-cv-02688 (N.D. Cal. Aug. 17, 2020), Dkt.
26   41-3 at 2, 6 (holding that “web extensions, or ‘add-ons,’ for web browsers” qualify under this prong).
27   Finally, Defendants’ claims (as they describe them) all involve Facebook’s decision “whether to
     publish or to withdraw from publication third-party content”—i.e., Facebook’s enforcement of its anti-
28   scraping policies. See Barnes, 570 F.3d at 1102; see also Answer ¶¶ 46, 60; Mem. 19 (alleging
     Facebook “revok[ed] BrandTotal’s access to UpVoice user information”).
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1           B.        Defendants Are Not Likely To Succeed On Facebook’s Claims

2                     1.      Facebook Will Succeed On Its Breach Of Contract Claim

3                             a.     Defendants Breached Facebook’s Terms Of Service By Collecting

4                                    User Data Via An Automated Browser Extension

5           Defendants do not dispute that three of the four elements for breach of contract—i.e., that there

6    is a contract, Facebook complied with its obligations, and Facebook suffered damages—are satisfied

7    here. Mem. at 9-10; see also Answer ¶ 46; Duffey Decl. Ex. 1-4; Clark Decl. ¶¶ 5(b), (f); see generally

8    E.D.C. Techs. v. Seidel, 216 F. Supp. 3d 1012, 1015 (N.D. Cal. 2016) (elements of breach of contract).

9    The only dispute here is whether Defendants breached. And even there, there really is no legitimate

10   dispute.

11              Defendants violated at least three separate provisions of Facebook’s terms: (1) they violated

12   3.2.1 by behaving in an “unlawful, misleading or fraudulent manner” (e.g., suggesting to Defendants’

13   customers that Facebook was “participat[ing]” in Defendants’ data scraping, entering password

14   protected locations on Facebook’s platform pretending to be an authenticated user); (2) they violated

15   3.2.2 by “doing [some]thing that could … impair the proper working or appearance of [Facebook]

16   products” (e.g., interfering with the normal operation of Facebook’s network and security operations);

17   and (3) they violated 3.2.3 by “access[ing] or collect[ing] data from [Facebook] Products using

18   automated means (without [Facebook’s] permission),” (via the UpVoice extension). See Duffey Decl.

19   Ex. 1-4; see generally Karve Decl.

20          Defendants do not even argue that they did not breach Facebook Terms 3.2.1 (misleading or

21   fraudulent behavior) and 3.2.2 (impairing the appearance/working of a Facebook product). That is

22   reason alone to deny the TRO. As to the third breach, Defendants’ only response is that they did not

23   access or collect data using “automated means.” They argue that (a) they have users’ consent to collect

24   users’ information, (b) they are not engaging in “controversial” behavior, like collecting information

25   on undecided voters in the run up to an election, and (c) they have not automatically installed their

26   browser extension on Facebook users’ computers. See Mem. 10. 9 Not one of these points, however, is

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28           Defendants also assert that they did not breach Instagram’s Terms because they have “the
     users’ permission for the data [they] collect[].” Mem. 9-10. This is wrong. Not only do Defendants
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1    relevant to the question of whether, once installed, Defendants’ browser extension used “automated

2    means” to extract data from Facebook’s protected computers. See Cal. Civ. Code § 1638 (“The

3    language of a contract is to govern its interpretation, if the language is clear and explicit.”). Facebook,

4    on the other hand, has presented sworn statements that UpVoice does employ automated data scraping.

5    See Karve Decl. ¶ 13, 15-16; Clark Decl. ¶ 14. Indeed, Defendants admit elsewhere in its TRO briefing

6    that UpVoice automatically collects information both from those who download it and from the

7    advertising that a user sees. See, e.g., Mem. 11 (UpVoice uses “some degree of automation” to collect

8    information).

9                            b.     Defendants’ Novel Argument That A Contractual Provision

10                                  Barring Data Scraping On A Private Website Violates Public

11                                  Policy Is Meritless

12            Unable to meaningfully dispute that they breached their contracts with Facebook, Defendants

13   ask the Court to find, on a TRO no less, that they are likely to succeed on their claim that important

14   provisions of Facebook’s terms of service should be invalidated as a matter of public policy. The

15   argument is both (a) unresponsive to two of Facebook’s theories of breach and (b) wrong.

16            To be clear, Facebook’s terms do not bar individual users from collecting their own data, as

17   Defendants concede. See Mem. 16 (asserting that “Facebook’s Terms … do not prohibit a user from

18   manually collecting the same data BrandTotal collects through UpVoice”). Facebook affirmatively

19   enables each user to download their information and take it to another platform. See, e.g., Erin Egan,

20   It’s    Time    To   Make    Our    Privacy    Materials     Easier    To   Find    (Mar.    28,    2018),

21   https://about.fb.com/news/2018/03/privacy-shortcuts/. Term 3.2.3, in contrast, bars automated

22   collection of data by a third-party. See supra p. 5. It also prohibits misleading statements like those

23   made by Defendants suggesting that Facebook approved of—and perhaps even oversaw—Defendants’

24   actions. See Compl. ¶ 50 & Exs. 6, 11, 13. 10 Ultimately, Term 3.2.3 protects the integrity of the

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     not have users’ informed consent, but their scraper picks up information from a wide array of
27   individuals who have not agreed to have their information snatched up. See supra pp. 6-7.
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            Facebook sent a cease and desist letter to Unimania on February 14, 2020, requesting that it
28   cease use of Instagram’s trademark in connection with its extensions. See Mehta Decl. Ex. 3.
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1    platform and the information of all users that engage there. For example, from a security perspective,

2    Defendants’ method of scraping—through logged-in users’ accounts—is not dissimilar to methods

3    used by hackers who improperly access accounts based on stolen or phished credentials and exfiltrate

4    data without user consent. Facebook’s systems cannot detect whether a user has consented off-

5    platform to a third party—such as Defendants—exfiltrating data from the users’ account and therefore

6    cannot just allow third parties to scrape up data through these means.

7           Against this backdrop, Defendants’ misguided belief that their novel arguments for an

8    unenumerated property right in user data (based on a misreading of the CCPA 11) are so strong that

9    they have a clear likelihood of success in invalidating Facebook’s terms of service is neither credible

10   nor legally supported. 12 Likewise, Defendants are wrong that Term 3.2.3 has been used to “improperly

11   stamp[] out competition.” As explained, Term 3.2.3 is not about competition at all; it prohibits

12   unauthorized collection of data by third-parties. Scraping can be harmful for any number of reasons.

13   See Clark Decl. ¶ 5. And Defendants’ business model implicates many of these concerns. See Compl.

14   Ex. 12 at ¶¶ 5.4-5.5.

15          This Court should reject the illogical argument—developed only after Defendants were caught

16   improperly accessing Facebook’s users’ data—that allegations about Facebook’s past user privacy

17   practices somehow bar it from taking steps to protect user data. If anything, “Facebook’s recent

18   interactions with the FTC” only underscore “[t]he public[’s]strong interest in the integrity of

19   Facebook’s platforms, Facebook’s policing of those platforms for abuses, and Facebook’s protection
20   of its users’ privacy.” Stackla, 2019 WL 4738288 at *6.

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             Defendants do not point to a single provision giving rights to data scrapers to collect and
24   monetize data. The statements of Assembly member Edwin Chau do not change this calculus; he
     merely said that the CCPA gives consumers “more control over their data.” Mem. 11-12; see also
25   Garcia v. United States, 469 U.S. 70, 76 (1984) (cautioning against reliance on “passing comments”
     in interpreting a statute).
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     12
             As explained, the HiQ case is also wholly inapposite. See infra pp. 22-23. Indeed, HiQ
27   acknowledged that even though the data scraper’s actions did not fall under the CFAA, “victims of
     data scraping” could bring a “breach of contract” action instead. 938 F.3d at 1004. Invoking HiQ
28   against a cause of action that the decision encouraged litigants to consider makes little sense.
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1                   2.     Facebook Will Prevail On Its CFAA and Section 502(c) Claims

2           In its complaint, Facebook alleged Defendants’ post-revocation conduct violated the CFAA

3    and California Penal Code, § 502(c). Compl., ¶¶ 81-95. Facebook alleges Defendants violated section

4    1030(a)(2) of the CFAA because, after Facebook revoked Defendants’ access to Facebook,

5    Defendants published the UpVoice extension on the Google Chrome Web Store and used it to access

6    and scrape Facebook computers. Compl., ¶ 84. The complaint also alleges Defendants violated section

7    1030(a)(4) because they used fraud to send unauthorized commands and requests to Facebook

8    computers, concealed as requests from an authenticated user. Id., ¶ 85. Defendants’ post-revocation

9    conduct also serves as the basis for the violation of California Penal Code, § 502. Compl., ¶¶ 87-95.

10   Facebook’s section 502 claims allege Defendants accessed, used, and copied data from Facebook’s

11   computers without Facebook’s permission. Id.

12          This case is consistent with Power Ventures. There, Power Ventures operated a website

13   extracting and aggregating users’ social networking information from Facebook and other social

14   networking sites onto a single page. Facebook, Inc. v. Power Ventures, 844 F.3d 1058, 1062 (9th Cir.

15   2016). Facebook sent a cease and desist letter to Power Ventures, explicitly revoking any authorization

16   that Defendants may have believed they had to access password-protected locations on Facebook’s

17   site. The Ninth Circuit held that Power Ventures had violated the CFAA because it continued to access

18   password-protected Facebook member profiles after Facebook’s “express revocation of permission.”

19   Id. at 1068. Here, Facebook disabled the Defendants’ accounts and Pages and filed a civil action

20   against Defendants in the Superior Court of California alleging violations of Facebook and Instagram’s

21   Terms based on Defendants’ scraping activity. Karve Decl. ¶¶ 27-34; Mehta Decl. Ex. 2. After the

22   complaint was filed, and after Google removed the extension from its Web Store, Defendants re-

23   published a functionally identical version of the UpVoice extension. Karve Decl. ¶¶ 14, 16. Like the

24   defendant in Power Ventures, Facebook’s civil action put Defendants “on notice that [they were] no

25   longer authorized to access Facebook’s computers” yet they proceeded to “deliberately disregard[]”

26   that notice. Power Ventures, 844 F.3d at 1067-1068 & n.3. Power Ventures holds that Defendants’

27   post-revocation conduct in this case violates the CFAA. Id.

28          Ignoring Power Ventures entirely, Defendants contend this case is “nearly identical” to hiQ

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1    Labs, Inc. v. LinkedIn Corp., 938 F.3d 985 (9th Cir. 2019). Mem. 9. But they miss the premise of that

2    decision. The CFAA’s prohibition on unauthorized access applies fully to “information delineated as

3    private through use of a permission requirement … such as password authentication.” 938 F.3d at

4    1001. Because hiQ was scraping non-password protected member profiles from a publicly-accessible

5    location on LinkedIn’s website, the Ninth Circuit reasoned that CFAA’s prohibition on accessing a

6    computer “without authorization” likely did not apply. Id. at 990-991, 1003. The Ninth Circuit

7    explicitly distinguished the password protection in Power Ventures: Power Ventures ran afoul of the

8    CFAA because it “was gathering user data that was protected by Facebook’s username and password

9    authentication system.” hiQ, 938 F.3d at 1002 (citing Power Ventures, 844 F.3d at 1063); see also

10   United States v. Nosal (Nosal II), 844 F.3d 1024 (9th Cir. 2016) (holding former employee who used

11   current employee’s login credentials to access company’s computers and collect information acted

12   “without authorization” under CFAA). “In sum Nosal II and Power Ventures”—and not hiQ—“control

13   situations in which authorization generally is required and has either never been given or has been

14   revoked.” hiQ, 938 F.3d 1002. That is precisely the situation here—Defendants are scraping

15   information from password-protected locations on Facebook, only accessible to authenticated users.

16   According to hiQ itself, Power Ventures delineates the CFAA’s framework for the scraping at issue

17   here. See hiQ, 938 F.3d at 1002.

18          Contrary to Defendants’ suggestion, the fact that users may have consented to the installation

19   of a browser extension does not transform Facebook’s computer network into the type of publicly-

20   available website at issue in hiQ. Assuming user consent is relevant, user consent only gets Defendants

21   so far. In Power Ventures, Facebook users who signed up for Power Ventures purported to give Power

22   Ventures permission to disseminate messages through the Facebook system. Id. at 1067. But Facebook

23   “expressly rescinded” any purported permission with a cease and desist letter to Power Ventures, and

24   therefore, “[t]he consent that Power had received from Facebook users was not sufficient to grant

25   continuing authorization to access Facebook’s computers after Facebook’s express revocation of

26   permission.” Id. at 1067-68. “[F]or Power to continue ... using Facebook’s computers, it needed

27   authorization both from individual Facebook users (who controlled their data and personal pages) and

28   from Facebook (which stored this data on its physical servers).” Id. at 1068. So too here.

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1             Ultimately, because Defendants’ affirmative state-law claims are premised on their ability to

2    engage in conduct that violates the CFAA, the Court cannot grant the relief Defendants’ seek as it

3    would “stand as an obstacle to the accomplishment … of the full purposes and objectives of [federal]”

4    law. Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372-373 (2000); see also Hathorn v.

5    Lovorn, 457 U.S. 255, 270 (1982) (courts must “refrain from ordering relief that would violate federal

6    law”).

7                       3.   Facebook Is Likely To Succeed On Its Interference With Contract Claim

8             Defendants barely try to rebut Facebook’s allegations that they interfered with Facebook’s

9    contractual relations. Defendants claim there was no interference because they have never asked

10   Facebook users for their passwords. Dor Decl. ¶ 16. This ignores that users also agreed not to “access

11   or collect data … using automated means” or “give access to [their] Facebook account to others.”

12   Clark Decl. ¶ 7, Duffey Decl. Ex. 1. Indeed, Defendants’ extension does not work without logged-in

13   access to a Facebook user’s account. Karve Decl. ¶¶ 13, 15. On this critical point, Defendants have no

14   response at all.

15   IV.      THE BALANCE OF EQUITIES WEIGHS AGAINST EXTRAORDINARY RELIEF

16            Defendants wrongly assert that the balance of equities weighs in its favor because it

17   purportedly faces extinction if it is not permitted to scrape Facebook’s platform and “Facebook suffers

18   no harm” by allowing Defendants to continue to scrape data while the litigation proceeds. Far from it.

19            An actor with unclean hands has a weak claim to the equities. Defendants made the decision

20   to violate Facebook’s terms, and thus are responsible for their dilemma. See Facebook, Inc. v. Power

21   Ventures, Inc., 252 F. Supp. 3d 765, 784 (N.D. Cal. 2017), aff'd, 749 F. App'x 557 (9th Cir. 2019)

22   (balance of hardships weighed in favor of permanent injunction even though injunction threatened

23   Power Ventures’ livelihood). And the issuance of a TRO in this case would not be harmless. It would

24   force Facebook to allow a non-compliant developer back on its platform, and interfere with

25   Facebook’s ability to enforce its terms and policies and secure its platform. Clark Decl. ¶¶ 5(a), (f). 13

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             Defendants suggest this Court forego a bond if it enters a TRO. While Facebook would be
     entitled to a bond, it is difficult to know what the amount should be because the harm to Facebook’s
28   platform is concrete but difficult to quantify. That is precisely why emergency relief should not be
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1    V.      THERE IS NO PUBLIC INTEREST IN PERMITTING ILLEGAL DATA SCRAPING

2            Defendants wrongly assert that the public has a significant interest in forcing Facebook to

3    reinstate platform access to a third-parties that engaged in impermissible data scraping. Not so. The

4    public interest is better served by permitting Facebook to take all necessary steps to protect user

5    privacy. See Clark Decl. Ex. 1. The particular violation of Facebook’s terms at issue here, automated

6    data collection of data from password-protected locations, is particularly troubling. Clark Decl. ¶¶ 3,

7    5. That Facebook is taking affirmative steps to enhance user privacy against bad actors is no doubt in

8    the public interest. See Stackla, Inc., 2019 WL 4738288, at *6 (“Facebook’s ability to decisively police

9    the integrity of its platforms is without question a pressing public interest.”); Facebook, Inc. v. Power

10   Ventures, Inc., 252 F. Supp. 3d 765, 782 (N.D. Cal. 2017), aff'd, 749 F. App'x 557 (9th Cir. 2019)

11   (“The public has an interest in ensuring that computers are not accessed without authorization.”);

12   Facebook, Inc. v. Sluchevsky, 2020 WL 5823277, *11 (N.D. Cal. Aug. 28, 2020), adopted in relevant

13   part, 2020 WL 5816578 (N.D. Cal. Sept. 20, 2020) (finding cognizable public interest supporting

14   entry of permanent injunction).

15           Granting Defendants’ injunction would have the effect of second-guessing, through a federal

16   civil action, Facebook’s considered exercise of its authority to maintain the integrity of its platforms.

17   The ramifications for technology companies and their users would be far-reaching and at odds with

18   the efforts that Facebook and other companies are taking every day to enhance protection for user data.

19   VI.     CONCLUSION

20           The Court should deny the Plaintiffs’ motion for a temporary restraining order.

21

22    Dated: October 21, 2020                                WILMER CUTLER PICKERING HALE AND
                                                             DORR LLP
23

24                                                           By:   /s/ Sonal N. Mehta
                                                                   Sonal N. Mehta
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26                                                                 Attorney for Plaintiff
                                                                   Facebook, Inc.
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1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on October 21, 2020, I electronically filed the above document with the
3    Clerk of the Court using CM/ECF which will send electronic notification of such filing to all
4    registered counsel.
5

6     Dated: October 21, 2020                              By:   /s/ Sonal N. Mehta
                                                                  Sonal N. Mehta
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